Case 2:12-cv-00859-LMA-MBN Document 1304-8

Inmate Request Systém - View Request

View Request

oe

Reopen

<- Go Back to
Homepage

Request #520701

Refresh

Closed - 5} Mental Health
Request

Inmate Status: Open
Current Location: OJC4 4 E DRM

 

Initial Request - Location
10/22/2018 9:47 PM

Hello | spoke with Commander
Mitchell today and he advised me to
put in this sick call to speak with the
phsyciatrist about my PTSD and
nightmares and panic attacks please
it is urgent thankyou and have a
blessed day
| Engiish
Translate

 

v | to [English v|

 

P Riley, MHP

10/23/2018 7:15 AM - Recall
Good mooring Sir! You have a
pending appointment in ane

 

 

 

 

 

 

 

month.
English ¥ | to
English v | Transiate
_ New Response
#,
he

 

 

 

(1,000 character limit)

Post Respcnse

https://orders.tigercommissary.com/commissaryordering/InmateRequestSystem/wfim Vie...

 

M Trudeau, MHC
P Riley, MHP

L. Ragers, MHP

D. Dorsey, MHP

R. Apostol, RN

L. Chambliss, MHD

 

-Request Members ~-~-----------~

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Page | of 1

10/22/2018 9:47 PM
10/22/2018 9:47 PM
10/22/2018 9:47 PM
10/22/2018 9:47 PM
10/22/2018 9:47 PM

10/22/2018 9:47 PM

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sow — tag aaBR gor

; MED- Mental Health
| (Request)

10/23/2018 7:16 AM

P Riley, MHP

 

 

| | Select a Tag

Print Previ aw

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10/23/2018
Case 2:12-cv-00859-LMA-MBN Document 1304-8 Filed 07/28/20 Page 2 of 5

| AICCS |
CORRECT CARE ;
SOLUTIONS

MENTAL HEALTH SERVICES |

i

TREATMENT PLAN ;

TREATMENT MODALITY: xf Special Needs [Group Therapy [1] Individual Therapy : |

DIAGNOSIS*: 5 hyvonic | “If patient currently under
: psychiatric treatment, utilize
diagnoses determined by

psychiatric provider.

 

 

 

 

     
  

 

 

 
 

 

SUITES OW

Start Date of Treatment: (2 [20/ { ®

 

O .~
Anticipated Completion Date: 2a

 

 

 

 

 

 

Note: For pa rescribed psychotropic medication - MHP ychiatrist shall review plan.
; Psychiatric Provider initials) eee (MHP Initials)

ELE LENT EEDA RER RRR MIR Hl HAHAH HRT R IHR a

 

Progress Towards Original Goals:
Revised Focus of Treatment:
Treatment interventions to be Utilized:

 

 

 

 

wie w ae WEE WNRERERTA HAAR ERA RARE We Rene RH KRW ER RR WERWARHERAAAWARH RAW RE, j

 

Note; For Patients Enrolled in Special Neads Program = Review Treatment Plan Every Six (6) Months and Sign Below If No}

Updates Needed. Treatment Plan Shall Be Updated At Least Annually,

 

 

 

 

Review Date: Reviewing Staff Signature:
Review Date: Reviewing Staff Signature:
Review Date: | Reviewing Staff Signature:

 

 

 

 

 

 

|

a Zholts Jao] |
$ ate ate
| agree to participate in this treatment plan.

 

ate

 

 

 
Case 2:12-cv-00859-LMA-MBN Document 1304-8 Filed 07/28/20 Page 3 of 5

Orleans Parish, LA Behavioral Health Structured =k

were Progress Note a wellp ath

New Orleans , LA70119

Patient Name Patient Number — Number i Date Date Of Service

8/12/2019

 

 

Memory:
Intact (_] Immediate Impaired {_] Recent Impaired {_| Remote Impaired (_] Other

Insight:
Intact () Good () Fair 1) Poor () Other

Judgment:
] Intact [¥] Good (] Fair () Poor (| Other

Behavior:
Appropriate |_| Belligerent |_| Agitated (| Impulsive (| Withdrawn (_] Other

 

Current Status

 

 

 

Medication Compliant? © N/A @ Yes © No
Suicidal Ideations noted? O Yes @ No © Refuses to answer
Homicidal Ideations noted? © Yes @ No © Refuses to answer

 

 

Assessment and Interventions Provided (include tasks assigned to patient, if any)

 

 

Patient shared that he is in need of joining a group. Patient stated that he spoke with an MHP about group but
States he has never been able to attend because the MHP he spoke with has never started up groups. He
Stated that he is very bored and really just wish to become more active doing something. Patient was informed
that this MHP will look into the status of the group and get back with him with some feedback. Also patient stated
that he feels his medications is not working. He stated that he has been feeling anxious, crying a lot, keeping to
himself because he does not feel like being around anyone, sweating a lot and just not feeling himself. Patient
Stated that it has been a while since he last saw the doctor. Patient was informed that this MHP will look into his
next doctor's appointment and if he does not have an early appointment, then he will be referred to the
psychiatrist with the hopes of moving up sooner. Patient was encouraged to work on becoming more active,
interact with peers, watch tv with peers, and exercise often to keep active and busy. Encouraged patient to
meditate and read during the close of day to wine down to help get a good night sleep.

 

 

Plan (Please check all that apply)

 

(| Treatment not indicated at this time (understands how to access services)
() Consulted with:

_] Behavioral Health to follow up PRN or through sick call
| Behavioral Health follow-up (#days/date)

# days /
date:

Refer to:

Page 2 of 3

 
 

 

 

 

Case 2:12-cv-00859-LMA-MBN

Inmate Request System - Print Preview

Orleans Parish Jail

Inmate Request System
Printed: 7/6/2019 10:36:29 AM

Request #555365

Open - 5) Mental Health Request

Current Location: OJC1 1 _ |

Initial Request

Original Location:

7/6/2019 9:58 AM

Hello im writing this grievance just to document and
report that last night Sth of July 2019 i had a numbe of 6
intense nightmares and would like to inform the phsyc of
these jappenings i became bery emotional and
depressed (crying and non communicative with others,
also extreme cold sweats and i just wanted to be left
alone by everyone. Please if someone can please come

and see me soi can talk to them about it thankyou and
hve a blessed day.

D Burton, MHP
7/6/2019 10:35:00 AM
Mr ERE an MHP will see you within 24 hours.

Mads Sate Ve

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Request Members (9 active)
M Trudeau, MHC - 7/06/2019 9:58 AM

P Riley, MHP - 7/06/2019 9:58 AM

L. Rogers, MHP - 7/06/2019 9:58 AM

D. Dorsey, MHP - 7/06/2019 9:58 AM

R. Apostol,RN - 7/06/2019 9:58 AM

D Burton, MHP - 7/06/2019 9:58 AM

L. Chambliss, MHD - 7/06/2019 9:58 AM
Malcolm McEwen - 7/06/2019 9:58 AM
C. Wilson, MSN, RN - 7/06/2019 9:58 AM

Tags (1 active)
MED- Mental Health (Request)

7/6/2019 10:35:00 AM
D Burton, MHP

Activities
7/6/2019 10:35:00 AM

TagAdded
D Burton, MHP

7/6/2019 10:35:00 AM
ResponseAdded
D Burton, MHP

https://orders.tigercommissary.com/commissaryordering/InmateRequestSystem/wftmPrintP... 7/6/2019
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Inmate Request System - View Request

View Request

 

 

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trudeaum ~ Logout

 

 

<:- Go Back to Mark Closed . Print Preview

Homepage - Request Members

Request #555362 ;

Refresh ; M Trudeau, MHC 7/08/2019 8:18 AM Active

Open - 2) Request D Burton, MHP 7108/2019 8:18 AM Active

P Riley, MHP 7/08/2019 3:18 AM Active

Inmate Status: Open . .

Current Location: OUC1 1E Za , MANESSA CLAYTON 7/06/2019 9:53 AM Inactive

Initial Request - Location , Erin Williams 7/06/2019 9:53 AM Inactive

7/6/2019 9:53 AM

Attn: Mrs. Hayes Edit Assignments |

Hello im requesting to speak to Mrs. =

Hayes about some mental health

options, j used to do groups with her

that were very effective | find her

methods very sufficiant if this

message can please be fowarded to Tags

her please and thankyou somuch

have a eee to (E . ;

[English __V|to[Englisn MED- Mental Health 7198 /0919'8:18 AM Erin Williams Remove

Translate (Request) ;
M Trudeau, MHC | Select a Tag v | Add Tag

 

7/8/2019 8:25 AM - Recall

Mr. HE your request will
be forwarded to Ms. Hayes.
Moving forward, when you
need mental health
assistance, submit a "mental
health request", not just a
"request". That will allaw us to
see you faster.

English v ita

English Y | Translate

 

 

 

 

 

 

  

 

 

 

(1,000 character limit)

Post Response

 

: “ Af YH9 Lili f gto
New Response - Vnappathct rel torte "Lf Giggle

  

~

https://orders.tigercommissary .com/commissaryordering/InmateRequestSystem/witm View... 7/8/2019
